                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,
       v.                                           No. 21-mj-2004DPR-01

MARK JOHN MILLMAN,


                      Defendant.


         UNITED STATES' MOTION FOR PRETRIAL DETENTION AND FOR
              A HEARING PURSUANT TO 18 U.S.C. § 3142(e) and (f)

       The United States of America, through Timothy A. Garrison, United States Attorney for

the Western District of Missouri, and by the undersigned Assistant United States Attorney requests

pretrial detention and a detention hearing pursuant to 18 U.S.C. §§ 3142 (e)(3)(E), (f)(1)(A),

(f)(2)(A), and (f)(2)(B). At this hearing, the evidence will demonstrate that no condition or

combination of conditions of release will reasonably assure the defendant's appearance as required

by the Court and the safety of other persons and the community.

                                    Supporting Suggestions

1. Title 18, United States Code, Section 3142(f)(1)(A) provides that a hearing must be held by

   the appropriate judicial officer to determine whether any condition or combination of

   conditions will reasonably assure the defendant's appearance and the safety of any other person

   in the community if the attorney for the Government moves for such a hearing and if the case

   is one that involves an offense involving a minor or a crime of violence as defined in 18 U.S.C.

   § 3156(a)(4)(C), which includes the offense of sexual exploitation of a minor, in violation of

   18 U.S.C. § 2251(a). 18 U.S.C. § 3142(E)(3)(E) and (f)(1)(A).




            Case 6:21-cr-03028-BCW Document 7 Filed 01/29/21 Page 1 of 3
2. The statute recognizes two additional situations which allow for a detention hearing and which

   can be raised either by the attorney for the Government or by a judicial officer. These

   conditions are:

       a.      When there is a serious risk that the defendant will flee; or,

       b.      When there is a serious risk that the person will “obstruct or attempt to obstruct
               justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate,
               a prospective witness or juror.” 18 U.S.C. § 3142(f)(2)(A) and (B).

3. One or more grounds for pretrial detention and a pretrial detention hearing as set forth by the

   statute exists in the above cause, to wit: this matter involves the sexual exploitation of a minor.

   Further, there is a serious risk that the defendant’s release will present a substantial risk to the

   community.

4. The crimes alleged in the Complaint requires the Court to consider a rebuttable presumption

   that no condition or combination of conditions set forth in 18 U.S.C. § 3142(c) will reasonably

   assure the appearance of the defendant as required and the safety of other persons and the

   community. 18 U.S.C. § 3142(e)(3)(E).

5. Moreover, the nature and circumstances of the charged offense, the weight of the evidence, the

   defendant’s history and characteristics, and the nature and seriousness of the danger to any

   person or the community that would be posed by the defendant’s release, each demonstrate

   that there is no condition or combination of conditions set forth in 18 U.S.C. § 3142(c) that

   will reasonably assure the appearance of the defendant as required and the safety of other

   persons and the community.




                                                   2




            Case 6:21-cr-03028-BCW Document 7 Filed 01/29/21 Page 2 of 3
6. The Government is aware of the following evidence:

   a. In relation to the nature and circumstances of the offense charged, on January 29, 2021, a

       complaint was filed charging the defendant, and co-defendant Tara Millman, with sexual

       exploitation of a minor.

   b. In relation to the weight of the evidence supporting the charge in the Complaint, the

       Government would reincorporate the facts set forth in the affidavit in support of the

       criminal complaint.

       WHEREFORE, the United States requests a pretrial detention hearing and that the

defendant be detained pending trial.

                                            Respectfully submitted,

                                            Timothy A. Garrison
                                            United States Attorney

                                       By   /s/ Ami Harshad Miller
                                            Ami Harshad Miller
                                            Assistant United States Attorney
                                            Missouri Bar No. 57711
                                            901 St. Louis Street, Ste. 500
                                            Springfield, Missouri 65802




                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on January 29,
2021, to the CM-ECF system of the United States District Court for the Western District of
Missouri for electronic delivery to all counsel of record.


                                            /s/ Ami Harshad Miller
                                            Ami Harshad Miller
                                            Assistant United States Attorney


                                               3




          Case 6:21-cr-03028-BCW Document 7 Filed 01/29/21 Page 3 of 3
